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 6                                UNITED STATES DISTRICT COURT
 7                             SOUTHERN DISTRICT OF CALIFORNIA
 8                               (HONORABLE LARRY ALAN BURNS)
 9
10                                                       ) Case No.: 06-CR-2450-LAB
         UNITED STATES OF AMERICA,                       )
11                                                       ) ORDER
                         Plaintiff,                      )
12                                                       )
                vs.                                      )
13                                                       )
         PHAT TAN HUYNH (6),                             )
14                                                       )
                         Defendant                       )
15                                                       )
                                                         )
16          GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Court Appointed,
17
     Attorney, Debra R. Torres-Reyes, is authorized to file for payment under the Criminal Justice Act
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     vouchers for research and review performed and to be performed by law clerks for 75 hours at the
19
     rate of $25.00 per hour. The vouchers are to be paid directly to the law clerks under the Criminal
20
21 Justice Act.
22          IT IS FURTHER ORDERED that the law clerks may submit interim Criminal Justice Act
23 vouchers for the services provided in this case..
24
            SO ORDERED.
25
     DATED: June 22, 2007
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                                                          HONORABLE LARRY ALAN BURNS
27
                                                          United States District Judge
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